      Case 4:07-cr-00127-SWW           Document 740         Filed 07/09/15   Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                  NO. 4:07CR00127-10-SWW

NATHANIEL BURROUGHS

                                            ORDER

       Defendant’s Motion for Two Point Reduction (Doc. No. 739), based on Sentencing

Guideline Amendment 782, is DENIED. Defendant is not eligible for a reduction because his

current sentence is from a supervised release revocation.

       IT IS SO ORDERED this 9th day of July, 2015.



                                                    /s/Susan Webber Wright
                                                    UNITED STATES DISTRICT JUDGE
